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              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE FIFTH CIRCUIT


 GREG ABBOTT, in his official capacity as Governor
 of the State of Texas,

                   Plaintiff-Appellant,

              v.
                                                            No. 22-40399
 JOSEPH R. BIDEN, in his official capacity as
 President of the United States; DEPARTMENT OF
 DEFENSE; LLOYD AUSTIN, Secretary, U.S.
 Department of Defense; DEPARTMENT OF THE
 AIR FORCE; FRANK KENDALL, III, in his official
 capacity as Secretary of the Air Force; DEPARTMENT
 OF THE ARMY; CHRISTINE WORMUTH, in her
 official capacity as Secretary of the Army,

                   Defendants-Appellees.



UNOPPOSED MOTION FOR A 14-DAY EXTENSION OF TIME TO FILE
  ANY PETITION FOR REHEARING OR REHEARING EN BANC

      Defendants-appellees hereby respectfully move for an additional 14-day

extension of time, to and including August 24, 2023, within which to file any petition

for rehearing or rehearing en banc. Good cause exists for granting the extension for the

reasons set forth below. Plaintiff does not oppose the requested relief.

      1. The Court’s opinion and judgment were filed on June 12, 2023. Defendants

previously sought and received a 14-day extension of time to file any petition for panel
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rehearing or rehearing en banc. See Fed. R. App. P. 40(a)(1); see also Clerk Order (July

18, 2023). As a result, any petition for rehearing is currently due August 10, 2023.

       2. The Solicitor General is responsible for determining whether the government

should seek rehearing. See 28 C.F.R. § 0.20(a)-(b) (directing the Solicitor General to

“[d]etermin[e] whether, and to what extent, appeals will be taken by the Government

to all appellate courts (including petitions for rehearing en banc . . . )”). The requested

extension of time is necessary to permit adequate time for consultation among the

components of the government affected by the Court’s decision and to permit

preparation of a petition if authorized by the Solicitor General.

       3. Plaintiff does not oppose the requested relief.

       For the foregoing reasons, the Court should grant the defendants-appellees an

additional 14-day extension, to and including August 24, 2023, within which to file any

petition for rehearing or rehearing en banc.

                                                 Respectfully submitted,

                                                     ABBY C. WRIGHT

                                                     /s/ Sarah J. Clark            .
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                       CERTIFICATE OF COMPLIANCE

      I certify that this document complies with the word limit of Fed. R. App. P.

27(d)(2)(A) because, excluding the parts of the document exempted by Fed. R. App. P.

32(f), it contains 238 words.



                                             /s/ Sarah J. Clark      .
                                             SARAH J. CLARK
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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 31, 2023, I electronically filed the foregoing motion

with the Clerk of the Court by using the appellate CM/ECF system. I certify that the

participants in the case are registered CM/ECF users and that service will be

accomplished by the appellate CM/ECF system.



                                               /s/ Sarah J. Clark        .
                                               SARAH J. CLARK
